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     Christina L. Henry, WSBA# 31273                      The Honorable Marsha J. Pechman
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12
                              UNITED STATES DISTRICT COURT
13
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
        MARY LOU GRANDE and MARK                    No. 2:19-cv-00333-MJP
15      DOUGLAS GRANDE,
                                                    SUPPLEMENTAL DECLARATION OF
16                           Plaintiffs,            CHRISTINA L HENRY IN SUPPORT
17                vs.                               OF REPLY TO PLAINTIFFS’ REQUEST
                                                    FOR ATTORNEYS’ FEES AND COSTS
18      US BANK NATIONAL ASSOCIATION, AS            RE MOTION TO COMPEL
        TRUSTEE FOR LEHMAN XS TRUST
19      MORTGAGE PASS-THROUGH                       Note on Motion Calendar:
        CERTIFICATES SERIES 2007-7 ("US
20      BANK"), AND NATIONSTAR MORTGAGE             January 31, 2020
21      LLC D/B/A MR. COOPER, QUALITY LOAN
        SERVICE CORPORATION OF
22      WASHINGTON and Doe Defendants 1 through
        20,
23
                             Defendants.
24

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      SUPPLEMENTAL DECLARATION OF CHRISTINA L HENRY              HENRY &DEGRAAFF, P.S.
      IN SUPPORT OF REPLY TO PLAINTIFFS’ REQUEST FOR                 787 MAYNARD AVE S.
                                                                SEATTLE, WASHINGTON 98104
      ATTORNEYS’ FEES AND COSTS RE MOTION TO COMPEL - 1            telephone (206) 330-0595
                                                                       fax (206) 400-7609
                 Case 2:19-cv-00333-MJP Document 61 Filed 03/12/20 Page 2 of 2




 1          I, Christina L Henry, declare as follows:

 2          1.       I am one of the attorneys for the Plaintiffs Mary Lou Grande and Mark Douglas
 3   Grande. I have personal knowledge of the facts as stated herein and can testify that they are
 4   true and correct to the best of my knowledge at this time.
 5          2.       In correspondence with Defendant’s attorney, Christopher G Varallo in late
 6   July 2020, I made it clear that the deadlines in this case were tight and that the Plaintiffs would
 7   agree to a response date of August 22, 2019 instead of the August 30, 2019 date proposed,
 8   and that we were already looking for agreeable dates to depose their Rule 30(b)(6) deponent
 9
     in September. The emails regarding these exchanges in July 2010 are attached hereto as
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     Exhibit 1.
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            3.       Thereafter, on August 15, 2019, when I received another request for a
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     discovery extension, I questioned whether the other attorney on the case could assist because
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     further delay would hinder our efforts to meet other discovery deadlines in the case. As
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     documented in the email chain, I discussed the issue with Dan Gibbons on the phone and
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     followed up with an email memorializing the conversation and my concerns. Thereafter, Ms.
16
     Huelsman added additional concerns separately regarding the staffing of three attorneys on
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     the case but still insisting that the discovery deadlines could not be met. After a thorough
18
     review of my files and emails, I do not see any duplication of time with Ms. Huelsman. The
19   emails regarding these exchanges in August 2019 are attached hereto as Exhibit 2.
20

21          SIGNED under penalty of perjury under the laws of the State of Washington at Seattle,

22   Washington, this 12th day of March 2020.
                                                           By: /s/ Christina L Henry
23                                                            Christina L Henry, WSBA # 31273
                                                                    Attorney for the Plaintiffs
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      SUPPLEMENTAL DECLARATION OF CHRISTINA L HENRY                          HENRY &DEGRAAFF, P.S.
      IN SUPPORT OF REPLY TO PLAINTIFFS’ REQUEST FOR                              787 MAYNARD AVE S.
                                                                             SEATTLE, WASHINGTON 98104
      ATTORNEYS’ FEES AND COSTS RE MOTION TO COMPEL - 2                         telephone (206) 330-0595
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